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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                         CRIMINAL ACTION
v.                                  )
                                    )                         No. 10-20076-07-KHV
TANISHA YOUNG,                      )
                                    )
                  Defendant.        )
____________________________________)

                                MEMORANDUM AND ORDER

        On July 12, 2011, the Court sentenced defendant to 97 months in prison. This matter is

before the Court on defendant’s Motion [] For Modification Or Reduction Of Sentence Based Upon

An Intervening Post-Sentencing Change In The United States Sentencing Guidelines Pertaining To

Specific Offender Characteristics (Doc. #515) filed March 19, 2012. For reasons stated below, the

Court overrules defendant’s motion.

                                              Analysis

I.      Amendment 739 To The United States Sentencing Guidelines

        Defendant argues that under 18 U.S.C. § 3582(c)(2), the Court should resentence her based

on Amendment 739 to the United States Sentencing Guidelines. A district court may reduce a term

of imprisonment where the Sentencing Commission has lowered the sentencing range under 28

U.S.C. § 994(o) and “a reduction is consistent with the applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2).

        Defendant is not entitled to relief under Section 3582(c)(2). Amendment 739 did not lower

the guideline range for any defendant – it merely allows a district court to employ its discretion and

depart from the Guidelines based on age, mental and emotional conditions, physical conditions or
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appearance, and past military service. See United States v. Benjamin, No. DKC 96-0217, 2011 WL

3821534, at *4 (D. Md. Aug. 26, 2011); United States v. Hernandez, No. 02 Cr. 1270(RWS), 2011

WL 180781, at *2 (S.D.N.Y. Jan. 19, 2011). Moreover, a sentence reduction under Amendment 739

is not consistent with the applicable policy statements of the Sentencing Commission.

Section 1B1.10 of the Guidelines, which sets forth the policy statement for sentence reductions

under Section 3582(c), states that a reduction in a defendant’s term of imprisonment is not

authorized under Section 3582(c)(2) unless Section 1B.10(c) lists the applicable amendment. United

States v. Mayberry, No. 3:96–cr–51–TMH, 2011 WL 1667103, at *2 (M.D. Ala. May 3, 2011).

Because Section 1B1.10 does not list Amendment 739, the Court is not authorized to reduce

defendant’s sentence based on that amendment.

II.      General Authority To Resentence Defendant

         A federal district court may modify a defendant’s sentence only where Congress has

expressly authorized it to do so. See 18 U.S.C. § 3582(c); United States v. Blackwell, 81 F.3d 945,

947 (10th Cir. 1996). Congress has set forth three limited circumstances in which a court may

modify a sentence: (1) upon motion of the Director of the Bureau of Prisons in extraordinary

circumstances or where defendant has reached 70 years of age and has served at least 30 years in

prison; (2) when “expressly permitted by statute or by Rule 35;” and (3) when defendant has been

sentenced “based on a sentencing range that has subsequently been lowered by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(1), (2); see Blackwell, 81 F.3d at 947-48. None of these

exceptions apply here. Moreover, Rules 35 and 36 of the Federal Rules of Criminal Procedure

clearly do not authorize a substantive modification of defendant’s sentence at this time. See

Blackwell, 81 F.3d at 947-48; Fed. R. Civ. P. 35 (authorizes resentencing to correct illegal sentence


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on remand from court of appeals, to reflect defendant’s substantial assistance on motion of the

government and to correct arithmetical, technical or other clear error within 14 days of sentencing);

Fed. R. Civ. P. 36 (authorizes court to correct clerical-type errors). Finally, the Court does not have

inherent authority to resentence defendant. See Blackwell, 81 F.3d at 949. For these reasons, the

Court does not have jurisdiction to resentence defendant at this time.

       IT IS THEREFORE ORDERED that defendant’s Motion [] For Modification Or

Reduction Of Sentence Based Upon An Intervening Post-Sentencing Change In The United States

Sentencing Guidelines Pertaining To Specific Offender Characteristics (Doc. #515) filed March 19,

2012 be and hereby is OVERRULED.

       IT IS FURTHER ORDERED that defendant’s Motion To Proceed Pro Se (Doc. #516) filed

March 19, 2012 be and hereby is OVERRULED as moot. Defendant is not required to seek leave

to proceed pro se on a motion under 18 U.S.C. § 3582(c).

       IT IS FURTHER ORDERED that defendant’s Motion To Proceed [In] Forma Pauperis

(Doc. #517) filed March 19, 2012 be and hereby is OVERRULED as moot. No filing fee is

required for a motion under 18 U.S.C. § 3582(c).

       Dated this 23rd day of March, 2012 at Kansas City, Kansas.

                                               s/ Kathryn H. Vratil
                                               KATHRYN H. VRATIL
                                               United States District Judge




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